Case 0:20-cv-61936-RAR Document 1 Entered on FLSD Docket 09/23/2020 Page 1 of 5




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                              CASE NO.:

 ROLAND RAOUF DAHDOUH,
 ALEJANDRO MORALES,

               Plaintiffs,
 v.

 ROAD RUNNER MOVING AND STORAGE INC, Y & O MOVING
 CONSULTING SERVICES LLC D/B/A ROAD RUNNER MOVING AND
 STORAGE, Y & T ENTERPRISE LLC D/B/A ROUTE 66 MOVING AND
 STORAGE D/B/A NEW CITY MOVING D/B/A PREFERRED MOVING
 COMPANY D/B/A ROAD RUNNER MOVING AND STORAGE, YOSSI
 WISMAN A/K/A YOSI WIZMAN, JOHN MATHER,

             Defendants.
 ____________________________________________________________/

                                         COMPLAINT
                                     {Jury Trial Demanded}

        Plaintiffs, ROLAND RAOUF DAHDOUH and ALEJANDRO MORALES, bring this

 action against Defendants, ROAD RUNNER MOVING AND STORAGE INC, Y & O MOVING

 CONSULTING SERVICES LLC D/B/A ROAD RUNNER MOVING AND STORAGE, Y & T

 ENTERPRISE LLC D/B/A ROUTE 66 MOVING AND STORAGE D/B/A NEW CITY MOVING

 D/B/A PREFERRED MOVING COMPANY D/B/A ROAD RUNNER MOVING AND

 STORAGE, YOSSI WISMAN A/K/A YOSI WIZMAN, and JOHN MATHER, pursuant to the Fair

 Labor Standards Act (“FLSA”), 29 U.S.C § 201 et seq., and allege as follows:

 1.     Jurisdiction is conferred on this Court by 28 U.S.C. § 1331 and 29 U.S.C. § 216(b).

 2.     At all times material hereto, Plaintiffs ROLAND RAOUF DAHDOUH and ALEJANDRO

 MORALES were residents of the State of Florida and “employees” of Defendants as defined by

 the FLSA.
Case 0:20-cv-61936-RAR Document 1 Entered on FLSD Docket 09/23/2020 Page 2 of 5




 3.     At all times material hereto, Plaintiffs engaged in interstate commerce on a regular and

 recurring basis within the meaning of the FLSA including but not limited to interstate telephone

 communication with customers throughout the U.S.A. including New York, California, Georgia,

 Illinois, and North Carolina.

 4.     At all times material hereto, Defendant, ROAD RUNNER MOVING AND STORAGE

 INC, was a Florida corporation with its principal place of business in South Florida, engaged in

 commerce in the field of moving services, at all times material hereto was the “employer” of

 Plaintiffs as that term is defined under statutes referenced herein, engaged along with its employees

 in interstate commerce, and has annual gross sales and/or business volume of $500,000 or more.

 5.     At all times material hereto, Defendant, Y & O MOVING CONSULTING SERVICES LLC

 D/B/A ROAD RUNNER MOVING AND STORAGE, was a Florida corporation with its principal

 place of business in South Florida, engaged in commerce in the field of moving services, at all

 times material hereto was the “employer” of Plaintiffs as that term is defined under statutes

 referenced herein, engaged along with its employees in interstate commerce, and has annual gross

 sales and/or business volume of $500,000 or more.

 6.     At all times material hereto, Defendant, Y & T ENTERPRISE LLC D/B/A ROUTE 66

 MOVING AND STORAGE D/B/A NEW CITY MOVING D/B/A PREFERRED MOVING

 COMPANY D/B/A ROAD RUNNER MOVING AND STORAGE, was a Florida corporation with

 its principal place of business in South Florida, engaged in commerce in the field of moving

 services, at all times material hereto was the “employer” of Plaintiffs as that term is defined under

 statutes referenced herein, engaged along with its employees in interstate commerce, and has

 annual gross sales and/or business volume of $500,000 or more.
Case 0:20-cv-61936-RAR Document 1 Entered on FLSD Docket 09/23/2020 Page 3 of 5




 7.     Defendant, YOSSI WISMAN A/K/A YOSI WIZMAN, is a resident of Miami-Dade

 County, Florida and was, and now is, a manager of Defendants, ROAD RUNNER MOVING AND

 STORAGE INC, Y & O MOVING CONSULTING SERVICES LLC D/B/A ROAD RUNNER

 MOVING AND STORAGE, and Y & T ENTERPRISE LLC D/B/A ROUTE 66 MOVING AND

 STORAGE D/B/A NEW CITY MOVING D/B/A PREFERRED MOVING COMPANY D/B/A

 ROAD RUNNER MOVING AND STORAGE, controlled Plaintiffs’ duties, hours worked, and

 compensation, and managed the day-to-day operations of Defendants, ROAD RUNNER

 MOVING AND STORAGE INC, Y & O MOVING CONSULTING SERVICES LLC D/B/A

 ROAD RUNNER MOVING AND STORAGE, and Y & T ENTERPRISE LLC D/B/A ROUTE

 66 MOVING AND STORAGE D/B/A NEW CITY MOVING D/B/A PREFERRED MOVING

 COMPANY D/B/A ROAD RUNNER MOVING AND STORAGE. Accordingly, YOSSI

 WISMAN A/K/A YOSI WIZMAN was and is an “employer” of the Plaintiffs within the meaning

 of 29 U.S.C. §203(d).

 8.     Defendant, JOHN MATHER, is a resident of Miami-Dade County, Florida and was, and

 now is, a manager of Defendants, ROAD RUNNER MOVING AND STORAGE INC, Y & O

 MOVING CONSULTING SERVICES LLC D/B/A ROAD RUNNER MOVING AND

 STORAGE, and Y & T ENTERPRISE LLC D/B/A ROUTE 66 MOVING AND STORAGE D/B/A

 NEW CITY MOVING D/B/A PREFERRED MOVING COMPANY D/B/A ROAD RUNNER

 MOVING AND STORAGE, controlled Plaintiffs’ duties, hours worked, and compensation, and

 managed the day-to-day operations of Defendants, ROAD RUNNER MOVING AND STORAGE

 INC, Y & O MOVING CONSULTING SERVICES LLC D/B/A ROAD RUNNER MOVING

 AND STORAGE, and Y & T ENTERPRISE LLC D/B/A ROUTE 66 MOVING AND STORAGE

 D/B/A NEW CITY MOVING D/B/A PREFERRED MOVING COMPANY D/B/A ROAD
Case 0:20-cv-61936-RAR Document 1 Entered on FLSD Docket 09/23/2020 Page 4 of 5




 RUNNER MOVING AND STORAGE. Accordingly, JOHN MATHER was and is an “employer”

 of the Plaintiffs within the meaning of 29 U.S.C. §203(d).

 9.      Defendants, ROAD RUNNER MOVING AND STORAGE INC, Y & O MOVING

 CONSULTING SERVICES LLC D/B/A ROAD RUNNER MOVING AND STORAGE and Y &

 T ENTERPRISE LLC D/B/A ROUTE 66 MOVING AND STORAGE D/B/A NEW CITY

 MOVING D/B/A PREFERRED MOVING COMPANY D/B/A ROAD RUNNER MOVING

 AND STORAGE, are a single enterprise under the Fair Labor Standards Act, performed related

 activities through unified operation and common control for a common business purpose, engaged

 along with their employees in interstate commerce, and have an annual gross sales and/or business

 volume of $500,000 or more.

 10.     Defendants, ROAD RUNNER MOVING AND STORAGE INC, Y & O MOVING

 CONSULTING SERVICES LLC D/B/A ROAD RUNNER MOVING AND STORAGE, and Y &

 T ENTERPRISE LLC D/B/A ROUTE 66 MOVING AND STORAGE D/B/A NEW CITY

 MOVING D/B/A PREFERRED MOVING COMPANY D/B/A ROAD RUNNER MOVING AND

 STORAGE, were joint employers of Plaintiffs under the Fair Labor Standards Act, shared

 Plaintiffs’ services, had Plaintiffs acting in the interest of each business, and shared common

 control of Plaintiffs.

 11.     Two or more of Defendants’ employees handled tools, supplies, and equipment

 manufactured outside Florida in furtherance of their business, including but not limited to phones,

 computers, computer monitors, computer keyboards, computer mice, pens, and paper.

 12.     Plaintiff ROLAND RAOUF DAHDOUH worked for Defendants as a sales representative.

 13.     Plaintiff ALEJANDRO MORALES worked for Defendants as a sales representative.
Case 0:20-cv-61936-RAR Document 1 Entered on FLSD Docket 09/23/2020 Page 5 of 5




 14.    Defendants failed to pay Plaintiffs’ full and proper overtime wages of 1.5 times Plaintiffs’

 regular hourly rate for hours worked over 40 each week.

 15.    Defendants failed to pay Plaintiffs’ full and proper minimum wages for certain hours

 worked during their employment.

 16.    Attached as Exhibit A and Exhibit B are preliminary calculations of Plaintiffs’ claims.

 These amounts may change as Plaintiffs engage in the discovery process.

 17.    Defendants have knowingly and willfully refused to pay Plaintiffs’ legally-entitled wages.

 18.    Plaintiffs have complied with all conditions precedent to bringing this suit, or same have

 been waived or abandoned.

 19.    Plaintiffs have retained the services of the undersigned and are obligated to pay for the

 legal services provided.

                                              Respectfully submitted,

                                              Koz Law, P.A.
                                              320 S.E. 9th Street
                                              Fort Lauderdale, Florida 33316
                                              Phone: (786) 924-9929
                                              Fax: (786) 358-6071
                                              Email: ekoz@kozlawfirm.com




                                              Elliot Kozolchyk, Esq.
                                              Bar No.: 74791
